            CASE 0:20-mj-00360-HB Document 11 Filed 07/02/20 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                              Criminal No. 20-mj-360 (HB)


UNITED STATES OF AMERICA,                  )
                                           )
                       Plaintiff,          )
                                               ORDER GRANTING PARTIES’
                                           )
                                               JOINT MOTION FOR EXTENSION
                i.                         )
                                               OF TIME FOR FILING
                                           )
                                               INDICTMENT
BRANDEN MICHAEL WOLFE,                     )
                                           )
                       Defendant.          )


       This matter is before the Court on the parties’ joint motion, pursuant to 18 U.S.C.

§ 3161(h)(7), for a 30-day extension of time to file an indictment in the above-captioned

matter. According to the joint motion, an indictment against Defendant currently must be

filed by July 9, 2020.

       After consideration of the joint motion, the reasons stated therein, and the record

before it, including the agreement by the parties and Defendant’s consent, the Court makes

the following

       FINDINGS OF FACT:

       1.       The a 30-day extension of the time period in which the United States is

required to bring the matter before the grand jury serves the interests of Defendant, the

public, and justice.

       2.       Specifically, the United States and the Defendant have a mutual interest in

having further discussions prior to the return of an indictment in this case. Without the
            CASE 0:20-mj-00360-HB Document 11 Filed 07/02/20 Page 2 of 2




requested extension, the parties will not have the opportunity to resolve this matter prior to

indictment; and

       3.      The ends of justice served by granting the parties’ joint motion outweigh the

interests of the public and Defendant in a speedy trial.

       Based on the foregoing, IT IS HEREBY ORDERED that:

       1.     The parties’ joint motion for a 30-day extension of time to file an indictment

in the above-captioned matter is GRANTED;

       2.     Any indictment in this matter must be filed on or before July 26, 2020.

       3.     The time period from June 26, 2020, through July 26, 2020 is excluded under

18 U.S.C. § 3161(h)(7)(B)(iv).



Dated: July 2, 2020                        s/ Hildy Bowbeer
                                           The Honorable Hildy Bowbeer
                                           United States Magistrate Judge




                                              2
